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14    Communications, Inc
                                                  Attorneys for Defendants Interactive
15                                                Digital Solutions, LLC and MedSitter,
                                                  LLC
16
                       IN THE UNITED STATES DISTRICT COURT
17
                        NORTHERN DISTRICT OF CALIFORNIA
18                              OAKLAND DIVISION
19

20   CAREVIEW COMMUNICATIONS,                 Case No. 4:21-cv-07061-HSG
     INC.,
21
                  Plaintiff,
22                                            STIPULATED JUDGMENT
        v.
23
     INTERACTIVE DIGITAL SOLUTIONS,
24   LLC, AND MEDSITTER, LLC,
25                Defendants.
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     CASE NO. 4:21-CV-07061-HSG                                    STIPULATED JUDGMENT
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 1         WHEREAS, on April 6, 2022, Defendants Interactive Digital Solutions, LLC
 2   and MedSitter, LLC (collectively, the “Defendants”) served an Offer of Judgment
 3   under Fed. R. Civ. P. 68 on Plaintiff CareView Communications Inc. (“Plaintiff”) (D.I.
 4   108-1) in the amount of One Hundred and Fifty Thousand Dollars ($150,000),
 5   inclusive of costs, interest, and fees (the “Stipulated Amount”), and stating that said
 6   Offer is being conveyed for the purposes specified in Fed. R. Civ. P. 68 and not as any
 7   admission of liability or damages or of any fact concerning or supporting liability or
 8   damages;
 9         WHEREAS, on April 20, 2022, Plaintiff served a Notice of Acceptance of the
10   Offer of Judgment under Fed. R. Civ. P. 68 on Defendants;
11         NOW, THEREFORE, IT IS HEREBY AGREED AND STIPULATED:
12         1.     Judgment shall be entered against Defendants in accordance with the
13   Offer of Judgment;
14         2.     The claims in this action are dismissed with prejudice as to Defendants;
15         3.     All future dates in the above-captioned case are to be removed from the
16   Court’s calendar; and
17         4.     Defendants shall pay the Stipulated Amount to Plaintiff within 14
18   (fourteen) days after the Court enters this judgment.
19

20   The Clerk shall enter judgment for the Stipulated Amount.
21

22   Dated: April 22, 2022
23

24    By: /s/ Brian A.E. Smith                      By: /s/ Brad M. Scheller
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     CASE NO. 4:21-CV-07061-HSG                                         STIPULATED JUDGMENT
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      Attorneys for Plaintiff CareView
11    Communications, Inc                        Attorneys for Defendants
                                                 Interactive Digital Solutions, LLC and
12                                               MedSitter, LLC
13

14   IT IS SO ORDERED.
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16

17   DATED: 4/25/2022                            Haywood S. Gilliam, Jr.
18
                                                 UNITED STATES DISTRICT JUDGE

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     CASE NO. 4:21-CV-07061-HSG                                      STIPULATED JUDGMENT
